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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                   NO. 4:13CR00068 JLH

KENNETH EUGENE BROWN, JR.,
TREMAYNE MONYEE BROWN,
KENNETH EUGENE BROWN, SR.,
RASHEAD STATON, DERRICK ANTHONY
RHODES, RENALDRE JACKSON,
TYRONE EDDIE MCCRAY, ANDRE
JERMAINE ROBINSON, BRIAN EUGENE
ROBINSON, BOBBY JEROME KNIGHT,
and ISSAC BLACK                                                                   DEFENDANTS

                                            ORDER

       The government has filed a motion for an order to correct a word in the indictment from

“though” to “through.” Objections must be filed on or before November 6, 2013. If a defendant

does not file an objection on or before November 6, 2013, the Court will assume that that defendant

does not object to the motion.

       IT IS SO ORDERED this 28th day of October, 2013.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
